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 3                                           SUPERIOR COURT CLERK
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 4                                           CASE #: 22-2-03561-7 SEA

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                  SUPERIOR COURT OF WASHINGTON IN AND FOR KING COUNTY
 8
     HAPPY GUESTS INTERNATIONAL, INC.
 9   d.b.a. SALTY’S ON ALKI,
                                                          No.
10
                                             Plaintiff,
                                                          COMPLAINT
11
            v.
12
     STARR SURPLUS LINES INSURANCE
13   COMPANY, an insurance company,
14                                      Defendant.
15

16
                                        I.        INTRODUCTION
17
            Plaintiff brings this action for business interruption insurance coverage. Plaintiff alleges
18
     as follows based on personal knowledge and information and belief:
19
                                         II.       JURISDICTION
20

21          1.       This Court has original jurisdiction pursuant to RCW 2.08.010 because the

22   actions originate in Washington and the amounts in controversy exceed the jurisdictional

23   threshold.
24
            2.       This Court has personal jurisdiction over Defendant because Defendant
25
     registered to do business in Washington, has sufficient minimum contacts with Washington, and
26
     otherwise intentionally avails itself of the markets within Washington through its business


     COMPLAINT - 1                                                      K E L L E R R O H R B A C K L. L .P.
                                                                             1201 Third Avenue, Suite 3200
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 1   activities, such that the exercise of jurisdiction by this Court is proper pursuant to RCW
 2   48.05.200. Moreover, Plaintiff’s claims arise out of and directly relate to Defendant’s contacts
 3
     with Washington.
 4
            3.         This case is filed within two years of the onset of Plaintiff’s loss, in accordance
 5
     with the contractual limitation on suit in Plaintiff’s business interruption insurance policies.
 6

 7          4.         A matter currently on direct review to the Washington Supreme Court, Hill &

 8   Stout PLLC v. Mutual of Enumclaw Insurance Co., No. 100211-4 (Wash. review granted Jan. 5,

 9   2022), addresses similar insurance coverage arising from similar facts, similar case theories, and
10
     virtually identical insuring language. In light of the pending Hill & Stout appeal, Plaintiff
11
     contends this action should be stayed after filing and service until 60 days after the Washington
12
     Supreme Court issues a decision in Hill & Stout.
13
                                                III.    PARTIES
14

15          5.         Happy Guests International, Inc. d.b.a. Salty’s on Alki is insured by Defendant

16   under Policy # SLSTPTY11222319.

17          6.         Defendant does business in King County, Washington, including selling
18   insurance policies in King County, Washington.
19
            7.         Defendant is vicariously liable for the acts and omissions of its respective
20
     employees and agents.
21
                                       IV.     NATURE OF THE CASE
22

23          8.         Defendant issued one or more insurance policies to Plaintiff, including a

24   businessowners policy and related endorsements (collectively, “the Policies”), which provide

25   broad property and business interruption coverage of Plaintiff’s property and business at all
26   relevant times.


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 1          9.       Defendant issued the Policies in Washington covering property situated in
 2   Washington.
 3
            10.      The Plaintiff’s business property includes Plaintiff’s business premises and
 4
     property and equipment owned and/or leased and used for Plaintiff’s specific business activity.
 5
            11.      Defendant promised to pay Plaintiff for loss of business income because of direct
 6

 7   physical loss or damage of property. The Policies do not define the key coverage terms.

 8          12.      In general, courts have found coverage under business interruption policies when

 9   the policyholder has lost the functional use of their business property. This occurred to Plaintiff.
10
            13.      Plaintiff paid all premiums for the coverage when due.
11
            14.      Plaintiff seeks all coverage due under its policies, including without limitation
12
     Business Income Coverage, Extra Expense Coverage, Extended Business Income Coverage, and
13
     Civil Authority Coverage, to whatever extent provided.
14

15          15.      On or about January 2020, the United States of America saw its first cases of

16   persons infected by COVID-19, which has been designated a worldwide pandemic.
17          16.      It is now known that COVID-19 spreads through airborne transmission, and, in
18
     some cases in conjunction with governmental responses, leads to loss of functional use of
19
     business property for ordinary business purposes.
20
            17.      The first confirmed case of COVID-19 in King County, Washington was noted
21

22   on January 21, 2020.

23          18.      On February 29, 2020, Washington Governor Jay Inslee issued Proclamation 20-

24   5, declaring a State of Emergency for all counties in the State of Washington as the result of
25   COVID-19.
26



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 1          19.       Thereafter, Governor Inslee issued a series of certain proclamations and orders
 2   affecting many persons and businesses in Washington, whether infected with COVID-19 or not,
 3
     requiring certain public health precautions. Among other things, Governor Inslee’s “Stay Home,
 4
     Stay Healthy” order required the closure of all non-essential businesses, including the Plaintiff’s
 5
     business here.
 6

 7          20.       Issued March 12, 2020, Proclamation 20-08 closed all public and private K-12

 8   schools in King, Pierce, and Snohomish counties. Issued March 13, 2020, Proclamation 20-09

 9   extended the school closure to the entire state.
10
            21.       Issued March 16, 2020, Proclamation 20-13 closed theaters, gyms, performance
11
     venues, dance studios, bowling alleys, and indoor dining at restaurants.
12
            22.       Proclamation 20-13 prohibited “any number of people from gathering in any
13
     public venue in which people congregate for purposes of . . . fitness and other similar activities.”
14

15   The proclamation further prohibits “the operation of public venues in which people congregate

16   for entertainment, social or recreational purposes, including but not limited to . . . gyms, fitness
17   centers . . . and other similar venues.”
18
            23.       Proclamation 20-13 states that one of the reasons for its restrictions is that “the
19
     worldwide COVID-19 pandemic and its progression in Washington State continues to threaten
20
     the life and health of our people as well as the economy of Washington State, and remains a
21

22   public disaster affecting life, health, property, or the public peace.”

23          24.       The various orders issued in Washington State in connection with the COVID-19

24   global pandemic led to Plaintiff experiencing a loss of functionality of its business property.
25          25.       Proclamations 20-05 and 20-13 refer to property damage throughout the State of
26
     Washington, including where Plaintiff’s business is located.


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 1             26.   Other premises, schools, and businesses in immediate close proximity to Plaintiff
 2   were closed and suffered direct physical loss as a result of these and similar governmental
 3
     orders.
 4
               27.   As a result of the above, Plaintiff has experienced and will experience losses
 5
     covered by the Policies.
 6

 7                                    V.      CAUSES OF ACTION

 8                                 Count One—Declaratory Judgment

 9             28.   This is a cause of action for declaratory judgment pursuant to the Uniform
10   Declaratory Judgments Act, RCW 7.24.010 et seq.
11
               29.   Plaintiff seeks a declaratory judgment declaring that losses and expenses
12
     resulting from the interruption of its business is covered by the Policies Defendant issued to it.
13
               30.   Plaintiff seeks a declaratory judgment declaring that Defendant is responsible for
14

15   timely and fully paying its claims.

16                                   Count Two—Breach of Contract

17             31.   The Policies issued by Defendant promise to pay Plaintiff for all claims covered
18   by the Policies.
19
               32.   Plaintiff has paid its insurance premiums.
20
               33.   Defendant’s failure to provide coverage for the claims is a breach of the
21
     insurance contract.
22

23             34.   Plaintiff is harmed by the breach of the insurance contract by its insurer.

24

25
26



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 1                                      VI.    REQUEST FOR RELIEF
 2           1.         A declaratory judgment that the Policies cover Plaintiff’s losses and expenses
 3
     resulting from the interruption of Plaintiff’s business related to COVID-19 and/or orders issued
 4
     by Governor Inslee, other Governors, and/or other authorities.
 5
             2.         A declaratory judgment that Defendant is responsible for timely and fully paying
 6
     all such losses.
 7

 8           3.         Damages.

 9           4.         Pre- and post-judgment interest at the highest allowable rate.
10           5.         Attorney fees and costs under Olympic Steamship Co. v. Centennial Insurance
11
     Co., 117 Wn.2d 37, 51–53, 811 P.2d 673 (1991) and/or other applicable law.
12
             6.         Such further and other relief as the Court shall deem appropriate.
13

14

15           DATED this 11th day of March, 2022.

16    StandardSig                                     KELLER ROHRBACK L.L.P.

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     COMPLAINT - 7                                             K E L L E R R O H R B A C K L. L .P.
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